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                                                                            FILED
                                                                United States Court of Appeals
                                       PUBLISH                          Tenth Circuit

                   UNITED STATES COURT OF APPEALS January 22, 2021
                                                                    Christopher M. Wolpert
                            FOR THE TENTH CIRCUIT                       Clerk of Court
                          _______________________________________

  MARY M. MAYOTTE,

         Plaintiff - Appellant,

  v.                                                        No. 20-1027

  U.S. BANK NATIONAL
  ASSOCIATION, as Trustee for
  Structured Asset Investment Loan
  Trust Mortgage Pass–Through
  Certificates, Series 2006-4; and
  WELLS FARGO BANK, N.A.,

         Defendants - Appellees.
                     _________________________________

                Appeal from the United States District Court
                        for the District of Colorado
                      (D.C. No. 1:14-CV-03092-RBJ)
                     _________________________________

 Brad Kloewer, Cain & Skarnulis, Salida, Colorado, on behalf of the
 Plaintiff-Appellant.

 Andrew M. Jacobs, Snell & Wilmer, Phoenix, Arizona (Anna M. Adams,
 Snell & Wilmer, Denver, Colorado, with him on the briefs), on behalf of
 the Defendants-Appellees.
                    _________________________________

 Before HOLMES, BACHARACH, and EID, Circuit Judges.
                 _________________________________

 BACHARACH, Circuit Judge.
                _________________________________
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       This appeal grows out of the interplay between remedies for tort and

 breach of contract. Remedies are often broader for tort than for breach of

 contract, and claimants often seek the broader tort remedies for conduct

 considered wrongful only because it violates a contractual duty. To enforce

 the limits on contractual remedies, courts employ a doctrine known as the

 “economic-loss rule.” See Restatement (Third) of Torts: Liability for

 Economic Harm § 3 (Am. L. Inst. 2020). Under this rule, tort remedies are

 ordinarily unavailable for economic losses resulting from violation of

 contractual duties in the absence of an independent duty growing out of a

 special relationship between the parties. Id. & cmt.g.

       The overarching issue here is whether the economic-loss rule

 prevents use of tort remedies for a lender’s failure to carry out its

 promises. The district court answered “yes,” rejecting the plaintiff’s effort

 to recover tort remedies for wrongful conduct consisting solely of alleged

 contractual breaches. We agree with the district court.

 1.    Ms. Mary Mayotte sues for torts based on Wells Fargo’s alleged
       breach of an agreement.

       The claims grew out of Ms. Mary Mayotte’s mortgage with U.S.

 Bank, which used Wells Fargo to service the loan. Ms. Mayotte sought

 modification of the loan and alleges that Wells Fargo had agreed to modify

 her loan if she withheld three payments. Based on this alleged




                                        2
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 understanding, Ms. Mayotte withheld three payments. But Wells Fargo

 denies agreeing to modify the loan, and U.S. Bank eventually foreclosed.

          The foreclosure spurred Ms. Mayotte to sue U.S. Bank and Wells

 Fargo, asserting statutory claims (violation of the Colorado Consumer

 Protection Act), tort claims (negligence, negligent supervision, and

 negligent hiring), and a claim for a declaratory judgment. The district court

 granted summary judgment to U.S. Bank and Wells Fargo, relying in part

 on the economic-loss rule and Ms. Mayotte’s failure to present evidence of

 compensatory damages. 1

 2.       We engage in de novo review based on the summary-judgment
          standard that applied in district court.

          Because this is a diversity action brought in the District of Colorado,

 we apply Colorado law for substantive matters and federal law for the

 standard of review. Prager v. Campbell Cty. Mem’l Hosp., 731 F.3d 1046,

 1060 (10th Cir. 2013). Under federal law, we conduct de novo review of

 the award of summary judgment. Zahourek Sys., Inc. v. Balanced Body

 Univ., LLC, 965 F.3d 1141, 1143 (10th Cir. 2020). Summary judgment is

 appropriate when “there is no genuine dispute as to any material fact and

 the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

 56(a).



 1
       The district court alternatively relied on other grounds, but we need
 not address those grounds.
                                          3
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 3.    The economic-loss rule prevents economic and declaratory relief.

       Like most states, Colorado has adopted the economic-loss rule. Town

 of Alma v. AZCO Const., Inc., 10 P.3d 1256, 1259–64 (Colo. 2000); see

 Wiltz v. BayerCropScience, Ltd., 645 F.3d 690, 695 (5th Cir. 2011) (stating

 that the economic-loss rule has been adopted in most jurisdictions). The

 applicability of the economic-loss rule is an issue of law. See Town of

 Alma, 10 P.3d at 1263–64 (“‘The court determines, as a matter of law, the

 existence and scope of the duty’. . . . Consistent with this duty analysis, we

 now expressly adopt the economic loss rule.” (quoting Taco Bell, Inc. v.

 Lannon, 744 P.2d 43, 46 (Colo. 1987)); see also Haynes Trane Serv.

 Agency, Inc. v. Am. Standard, Inc., 573 F.3d 947, 962 (10th Cir. 2009)

 (“Whether the economic-loss rule operates to bar [the party’s] fraud

 counterclaim ‘is an issue of law . . . .’” (quoting Level 3 Commc’ns, LLC v.

 Liebert Corp., 535 F.3d 1146, 1162 (10th Cir. 2008))).

       Under Colorado law, a plaintiff alleging an economic loss from a

 breach of contract ordinarily lacks a cause of action for a tort. Town of

 Alma, 10 P.3d at 1264. A tort would exist only if the wrongful action

 violated a duty existing independently of the contract. Id.




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       Invoking the economic-loss rule, the district court granted summary

 judgment to U.S. Bank and Wells Fargo on the claims for economic and

 declaratory relief. 2 We agree with this conclusion because Ms. Mayotte

       •      has not shown an independent duty and

       •      has forfeited her new arguments on the claims for a statutory
              violation and declaratory judgment.

       A.     No independent duty exists to support the tort claims.

       When deciding whether a potential tort duty exists, Colorado courts

 generally consider

       •      the risk involved,

       •      the foreseeability and likelihood of injury weighed against the
              social utility of the defendant’s conduct,

       •      the burden of guarding against injury or harm, and

       •      the consequences of placing the burden on the defendant.

 A.C. Excavating v. Yacht Club II Homeowners Ass’n, Inc., 114 P.3d 862,

 868 (Colo. 2005).

       But in the context of the economic-loss rule, a defendant can incur

 liability for economic losses only if the underlying duty is “independent.”

 S K Peightal Engineers, LTD v. Mid Valley Real Estate Sols. V, LLC, 342

 P.3d 868, 875 (Colo. 2015). A duty is independent if it



 2
      The district court also relied on the economic-loss rule to bar
 recovery for non-economic losses. We address those remedies separately.

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       •      lies beyond the scope of contractual duties or

       •      arises in the context of a “special relationship,” such as an
              attorney-client, physician-patient, or insurer-insured
              relationship.

 Id.

       Ms. Mayotte’s relationship with U.S. Bank was governed by a

 contract, but Ms. Mayotte has not asserted a claim for breach of contract.

 She instead asserts claims involving torts, violation of a statute, and

 declaratory relief.

       For the torts, Ms. Mayotte argues that U.S. Bank and Wells Fargo had

 duties outside of the contract. We reject this argument.

       In district court, Ms. Mayotte did not present an argument or

 evidence about the existence of independent duties. Though she alleged

 duties of care, she didn’t allege

       •      the creation of these duties outside of the contract or

       •      the existence of a special relationship with the defendants. 3




 3
       Ms. Mayotte did say in a subheading: “Wells Fargo and US Bank
 Owed Duties Independent of the Contract with Ms. Mayotte, and Therefore
 this Action Arises in Tort.” Appellant’s App’x, vol. 9, at 2367. But in the
 body of the brief, Ms. Mayotte did not explain how these duties existed
 independently of the contract. See Sierra Club, Inc. v. Bostick, 787 F.3d
 1043, 1060 n.18 (10th Cir. 2015) (concluding that the petitioners had
 failed to adequately brief an argument beyond a heading in their opening
 brief).

                                        6
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       On appeal, Ms. Mayotte relies on a report from her expert witness

 and admissions by a Wells Fargo employee. But the existence of an

 independent duty involves a matter of law, not fact. See p. 4, above.

       Ms. Mayotte’s expert witness didn’t purport to opine on the banks’

 legal duties. In his report, the expert witness simply opined on the facts

 relating to what “a reasonably careful and ethical servicer should be able

 to do.” Report of James E. McNulty at 3 (Dkt. No. 134-7). 4 This opinion

 does bear on the banks’ responsibility to carry out obligations in a

 commercially reasonable manner. See Report of James E. McNulty at 3

 (Dkt. No. 134-7); Appellant’s App’x at 2347–55. But that duty inheres in

 every contract as an implied duty of good faith and fair dealing. Amoco Oil

 Co. v. Ervin, 908 P.2d 493, 498 (Colo. 1995), as modified on denial of

 reh’g (Jan. 16, 1996). This duty does not exist independently of the

 contract. Top Rail Ranch Estates, LLC v. Walker, 327 P.3d 321, 329 (Colo.

 App. 2014).

       Though the expert witness addressed matters bearing on the implied

 duty of good faith and fair dealing, he didn’t purport to identify the banks’

 legal duties. He couldn’t, for the existence of a legal duty lies within the

 sole province of the court. See Black v. Black, 422 P.3d 592, 610 (Colo.


 4
       In the appendix, Ms. Mayotte did not include the copy of the expert
 report attached to her summary-judgment motion. The report appears in the
 appendix only as an attachment to Ms. Mayotte’s response to the
 defendants’ motion to exclude expert testimony.
                                        7
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 App. 2018) (stating that an expert witness’s testimony on “the correct legal

 standard” would be inadmissible); see also p. 4, above. So even if the

 expert witness had purported to opine on the banks’ legal duties, that

 opinion could not prevent summary judgment. See Portenier v. United

 States, 520 F. App’x 707, 716 (10th Cir. 2013) (unpublished) (concluding

 that the plaintiff ’s “marshalling of evidence cannot create . . . a legal duty”

 because the existence of a duty involves a pure issue of law). 5

       Ms. Mayotte also misstates the alleged “admissions” by Wells Fargo.

 On appeal, Ms. Mayotte states that “Wells Fargo admitted that it owed . . .

 duties.” Appellant’s Opening Br. at 48. In support, she cites pages 2347–55

 of the appendix. These pages contain testimony about Wells Fargo’s

 policies. Appellant’s App’x at 2347–55. But the testimony doesn’t address

 any duties, much less duties existing beyond the contract.

       Ms. Mayotte also argues that she had a special relationship with the

 defendants. We disagree. Colorado does not recognize a special

 relationship between lenders and borrowers, so Colorado appellate courts

 routinely dismiss borrowers’ negligence claims against lenders. See Miller

 v. Bank of New York Mellon, 379 P.3d 342, 348 (Colo. App. 2016)

 (upholding the dismissal of a negligence claim by borrowers against a



 5
      Portenier is persuasive but not precedential. See 10th Cir. R.
 32.1(A).

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 lender because no special relationship existed); Premier Farm Credit, PCA

 v. W-Cattle, LLC, 155 P.3d 504, 523 (Colo. App. 2006) (upholding the

 dismissal of borrowers’ negligence claim); Centennial Square, Ltd. v.

 Resolution Trust Co., 815 P.2d 1002, 1004 (Colo. App. 1991) (same), cited

 by Town of Alma v. AZCO Constr., Inc., 10 P.3d 1256, 1262 (Colo. 2000).

       Given the absence of an independent duty, the economic-loss rule

 bars Ms. Mayotte’s tort claims for economic damages.

       B.     Ms. Mayotte forfeited her argument that the economic-loss
              rule doesn’t apply to the claims for violation of a statute or
              for a declaratory judgment.

       Ms. Mayotte argues on appeal that the economic-loss rule doesn’t

 apply to her claims for violation of a state statute or for a declaratory

 judgment. But she didn’t make this argument in district court.

       There U.S. Bank and Wells Fargo sought summary judgment on all of

 the claims, including those for violation of the Colorado Consumer

 Protection Act and for a declaratory judgment. But Ms. Mayotte didn’t

 argue that these claims would have triggered an exception to the economic-

 loss rule. 6 So the district court didn’t have the benefit of the argument that

 Ms. Mayotte has made to us.


 6
       In her reply brief, Ms. Mayotte argues that she preserved her
 opposition to application of the economic-loss rule on the statutory claim.
 But in district court, she argued only that the statutory claim was an
 independent source of liability; she didn’t explain how the statutory claim
 existed independently of the contract or otherwise address her statutory
 claim in relation to the economic-loss rule.
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        Despite Ms. Mayotte’s failure to preserve this argument, we could

  ordinarily consider it under the plain-error standard. See Richison v. Ernest

  Grp., Inc., 634 F.3d 1123, 1131 (10th Cir. 2011). But Ms. Mayotte has not

  urged plain error, so we decline to consider this argument. See id.

  4.    Ms. Mayotte failed to present any evidence of non-economic
        harm.

        Ms. Mayotte argues that even if the economic-loss rule bars recovery

  for economic harm, she could still recover for non-economic harm (like

  emotional distress). But she failed to present any evidence of non-

  economic harm.

        In district court, U.S. Bank and Wells Fargo urged summary judgment

  based in part on a failure to prove compensatory damages. In support, U.S.

  Bank and Wells Fargo

        •     presented evidence that Ms. Mayotte had obtained a benefit
              worth $310,000 by living in her house for over ten years
              without making any payments and

        •     argued that the damages could not have outweighed the
              $310,000 benefit.

  This argument triggered a burden for Ms. Mayotte to present evidence of

  non-economic harm. Fed. R. Civ. P. 56(c)(1)(A), (c)(3).

        Ms. Mayotte responded by pointing out that she had alleged

  emotional distress. But Ms. Mayotte could not satisfy her evidentiary

  burden by relying on the allegations in her complaint. Hansen v. PT Bank

  Negara Indonesia (Persero), 706 F.3d 1244, 1247 (10th Cir. 2013). For
                                        10
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  those allegations, she needed to present evidence. See, e.g., Tull v.

  Gundersons, Inc., 709 P.2d 940, 943–45 (Colo. 1985).

        On appeal, Ms. Mayotte argues that (1) the district court failed to

  consider various factors and (2) she had sought summary judgment only on

  liability. Both arguments are beside the point.

        The district court properly relied on the evidence in the summary-

  judgment record, and Ms. Mayotte didn’t present any evidence of non-

  economic harm. Despite the failure to present evidence of damages, she

  argues here that the district court should have considered various other

  factors, such as the value of the house at the time of the foreclosure, her

  payments before the foreclosure, and her emotional distress. But when she

  responded to the summary-judgment motion, she didn’t identify these

  factors or present any supporting evidence.

        Ms. Mayotte also argues that she sought summary judgment only on

  liability. But U.S. Bank and Wells Fargo sought summary judgment based

  in part on Ms. Mayotte’s failure to prove compensatory damages. The

  defendants’ argument for summary judgment triggered Ms. Mayotte’s

  burden to respond, and the limited scope of her own summary-judgment

  motions was immaterial.

  5.    Conclusion

        In our view, the district court properly granted summary judgment to

  U.S. Bank and Wells Fargo. They invoked the economic-loss rule, and Ms.

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  Mayotte failed to present any basis for recognition of a legal duty outside

  of the contract. So Ms. Mayotte cannot recover damages for economic

  losses. Nor can she recover other damages. U.S. Bank and Wells Fargo

  denied any proof of non-economic damage, and Ms. Mayotte failed to

  present evidence of such damage.

        Given the economic-loss rule and failure to present evidence of non-

  economic damage, we affirm the award of summary judgment to U.S. Bank

  and Wells Fargo.




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                           UNITED STATES COURT OF APPEALS
                               FOR THE TENTH CIRCUIT
                                OFFICE OF THE CLERK
                                Byron White United States Courthouse
                                         1823 Stout Street
                                      Denver, Colorado 80257
                                          (303) 844-3157
  Christopher M. Wolpert                                                           Jane K. Castro
  Clerk of Court                       January 22, 2021                        Chief Deputy Clerk




  Brad Kloewer
  Cain & Skarnulis
  101 North F Street, Suite 207
  Salida, CO 81201

  RE:       20-1027, Mayotte v. U.S. Bank, et al
            Dist/Ag docket: 1:14-CV-03092-RBJ

 Dear Counsel:

 Enclosed is a copy of the opinion of the court issued today in this matter. The court has
 entered judgment on the docket pursuant to Fed. R. App. P. Rule 36.

 Pursuant to Fed. R. App. P. 40(a)(1), any petition for rehearing must be filed within 14
 days after entry of judgment. Please note, however, that if the appeal is a civil case in
 which the United States or its officer or agency is a party, any petition for rehearing must
 be filed within 45 days after entry of judgment. Parties should consult both the Federal
 Rules and local rules of this court with regard to applicable standards and requirements.
 In particular, petitions for rehearing may not exceed 3900 words or 15 pages in length,
 and no answer is permitted unless the court enters an order requiring a response. See Fed.
 R. App. P. Rules 35 and 40, and 10th Cir. R. 35 and 40 for further information governing
 petitions for rehearing.

 Please contact this office if you have questions.

                                               Sincerely,



                                               Christopher M. Wolpert
                                               Clerk of the Court
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  cc:     Anna Adams
          Andrea McDonald Hicks
          Andrew Martin Jacobs
          Gregory J. Marshall



  CMW/sds




                                        2
